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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 DOUG LONGHINI, Individually,                    :
                                                 :
              Plaintiff,                         :
                                                 :
 vs.                                             :        Case No.
                                                 :
 JAYNE KAPLAN TRUSTEE OF THE                     :
 RAPHAEL BELKOV REVOCABLE TRUST :
 DTD 2/5/1991 FBO JAYNE KAPLAN GST               :
 EXEMPT, as to an undivided 50 percent interest :
 and DEBBIE BELKOV TRUSTEE OF THE                :
 RAPHAEL BELKOV REVOCABLE TRUST :
 DTD 2/5/1991 FBO DEBBIE BELKOV GST              :
 EXEMPT, as to an undivided 50 percent interest, :
                                                 :
              Defendant.                         :
 _______________________________________/

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

        Plaintiff, DOUG LONGHINI, Individually, and on behalf of all other mobility impaired

 individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendants,

 Jayne Kaplan Trustee of the Raphael Belkov Revocable Trust DTD 2/5/1991 FBO Jayne Kaplan

 GST Exempt, as to an undivided 50 percent interest, and Debbie Belkov Trustee of The Raphael

 Belkov Revocable Trust DTD 2/5/1991 FBO Debbie Belkov GST Exempt, as to an undivided 50

 percent interest (sometimes referred to as “Defendants”), for Injunctive Relief, and attorney’s

 fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C.

 § 12181 et seq. (“ADA”).

 1.     Plaintiff, Doug Longhini, is an individual residing in Miami, Florida, in the County of

        Miami-Dade.
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 2.    Defendant’s property, De Todo Plaza is located at 300 SW 109th Avenue, Miami, FL

       33174, in the County of Miami-Dade.

 3.    Venue is properly located in the Southern District of Florida because venue lies in the

       judicial district of the property situs. The Defendant’s property is located in and does

       business within this judicial district.

 4.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

       jurisdiction over actions which arise from the Defendant’s violations of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

       and § 2202.

 5.    Plaintiff Doug Longhini is a Florida resident, is sui juris, and qualifies as an individual

       with disabilities as defined by the ADA. Doug Longhini has cerebral palsy and requires

       the use of a wheelchair to ambulate. Mr. Longhini has very limited use of his hands and

       cannot operate any mechanisms which require tight grasping or twisting of the wrist.

 6.    Mr. Longhini has been to the subject property on numerous occasions. The subject

       property is approximately 6.5 miles from his home. He regularly travels to the area

       where the property is located. Mr. Longhini intends to return to the property in the near

       future and on an ongoing basis to available himself of the goods and services offered at

       the subject property. He will in the future continue to encounter architectural barriers at

       the subject property, until the barriers are corrected.     The barriers to access have

       endangered his safety.

 7.    Defendant owns, leases, leases to, or operates a place of public accommodation as

       defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and



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       36.104. Defendant is responsible for complying with the obligations of the ADA. The

       place of public accommodation that the Defendants own, operate, lease or leases to, is

       known as De Todo Plaza, and is located at 300 SW 109th Avenue, Miami, FL 33174.

 8.    Doug Longhini has a realistic, credible, existing and continuing threat of discrimination

       from the Defendant’s non-compliance with the ADA with respect to the property as

       described but not necessarily limited to the allegations in paragraph 10 of this complaint.

       Plaintiff has reasonable grounds to believe that he will continue to be subjected to

       discrimination in violation of the ADA by the Defendants. Doug Longhini desires to

       visit the De Todo Plaza, not only to avail himself of the goods and services available at

       the property, but to assure himself that this property is in compliance with the ADA so

       that he and others similarly situated will have full and equal enjoyment of the property

       without fear of discrimination.

 9.    The Defendants have discriminated against the individual Plaintiff by denying him access

       to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

       and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

 10.   The Defendants’ have discriminated, and is continuing to discriminate, against the

       Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by

       January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross

       receipts of $500,000 or less). A preliminary inspection of the De Todo Plaza has shown

       that violations exist. These violations that Doug Longhini has personally encountered or

       observed include, but are not limited to:

              Parking



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          a) The plaintiff had difficulty exiting the vehicle, as designated accessible parking
             spaces are located on an excessive slope. Violation: There are accessible parking
             spaces located on an excessive slope violating Section 4.6.3 of the ADAAG and
             Section 502.4 of the 2010 ADA Standards, whose resolution is readily achievable.

          b) The plaintiff had difficulty exiting the vehicle, as designated accessible parking
             space access aisles are located on an excessive slope. Violation: There are
             accessible parking space access aisles located on an excessive slope violating
             Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA Standards,
             whose resolution is readily achievable.

             Entrance Access and Path of Travel

          c) The plaintiff had difficulty traversing the path of travel, as it was not continuous
             and accessible. Violation: There are inaccessible routes from the public sidewalk
             and transportation stop. These are violations of the requirements in Sections
             4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the ADAAG and Sections 206.2.1, 302.1, 303,
             and 402.2 of the 2010 ADA Standards, whose resolution is readily achievable.

          d) The plaintiff had difficulty traversing the path of travel due to abrupt changes in
             level. Violation: There are changes in levels of greater than ½ inch, violating
             Sections 4.3.8 and 4.5.2 of the ADAAG and Section 303 of the 2010 ADA
             Standards, whose resolution is readily achievable.

          e) The plaintiff had difficulty using ramps, as they are located on an excessive slope.
             Violation: Ramps at the facility contain excessive slopes, violating Section 4.8.2
             of the ADAAG and Section 405.2 of the 2010 ADA Standards, whose resolution
             is readily achievable.

          f) The plaintiff had difficulty on the path of travel at the facility, as ramps do not
             have compliant handrails violating Section 4.8.5 of the ADAAG and Section
             405.8 of the 2010 ADA Standards, whose resolution is readily achievable.

          g) The plaintiff had difficulty traversing the path of travel, as there are cross slopes
             in excess of 2%. Violation: The path of travel contains excessive cross slopes in
             violation of Section 4.3.7 of the ADAAG and Section 403.3 of the 2010 ADA
             Standards, whose resolution is readily achievable.

          h) The plaintiff had difficulty traversing the path of travel, as it was not continuous
             and accessible. Violation: There are inaccessible routes between sections of the
             facility. These are violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5
             of the ADAAG and Sections 206.2.2, 303, 402 and 403, whose resolution is
             readily achievable.



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          i) The plaintiff had difficulty entering tenant spaces without assistance, as the
             entrance thresholds are too high. Violation: There are threshold rises in excess of
             ½ inch at the tenant entrances, violating Section 4.13.8 of the ADAAG and
             Section 404.2.5 of the 2010 ADA Standards, whose resolution is readily
             achievable.

          j) The plaintiff could not traverse through areas of the facility, as the required 36”
             path is not provided. Violation: A continuous path of travel connecting all
             essential elements of the facility is not provided, violating Sections 4.2.1, 4.3.2(2),
             & 4.3.3 of the ADAAG and Sections 206.2.2 & 403.5.1 of the 2010 ADA
             Standards, whose resolution is readily achievable.

             LA NUEVA NICARAGUA

             Access to Goods and Services

          k) There is seating provided at the facility that does not comply with the standards
             prescribed in Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010
             ADA Standards, whose resolution is readily achievable.

             ONE FOOD STOP

             Entrance Access and Path of Travel

          l) The plaintiff could not traverse through areas of the store, as the required 36” path
             isn’t provided due to objects that obstruct the path of travel. Violation: There isn’t
             a continuous path of travel connecting all essential elements of the store, in
             violation of Sections 4.2.1 & 4.3.3 of the ADAAG, 28 CFR 36.211, and Section
             403.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.

             Unisex Restrooms

          m) The plaintiff could not use the lavatory without assistance, as the required knee &
             toe clearances are not provided. Violation: There are lavatories in public
             restrooms without the required clearances provided, violating the requirements in
             Section 4.19.2 and Figure 31 of the ADAAG and Sections 306 and 606.2 of the
             2010 ADA Standards, whose resolution is readily achievable.

          n) The plaintiff had difficulty using the toilet paper & paper towels due to the rolls
             not being located within a dispenser. Violation: Elements in the restroom are not
             readily accessible and usable by persons with disabilities, violating 28 CFR
             36.211, whose resolution is readily achievable.

          o) The plaintiff could not use the mirror, as it is mounted too high. Violation: The
             mirrors provided in the restrooms are in violation of the requirements in Section

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              4.19.6 of the ADAAG and Section 603.3 of the 2010 ADA Standards, whose
              resolution is readily achievable.

          p) The plaintiff had difficulty using the doorknob and the locking mechanism on the
             restroom door without assistance, as they require tight grasping. Violation: The
             restroom door has non-compliant hardware for disabled patrons, violating
             Sections 4.13.9 & 4.27.4 of the ADAAG and Sections 309.4 & 404.2.7 of the
             2010 ADA Standards, whose resolution is readily achievable.

          q) The plaintiff could not enter the restroom without assistance, as the door width is
             too narrow. Violation: The clear width at restroom doors is less than the
             prescribed minimums violating Section 4.13.5 of the ADAAG and Section
             404.2.3 of the 2010 ADA Standards, whose resolution is readily achievable.

          r) The plaintiff had difficulty using the toilet without assistance, as it is not mounted
             at the required distance from the side wall. Violation: The water closet is mounted
             at a non-compliant distance from the side wall, violating Section 4.16.2 and
             Figure 28 of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose
             resolution is readily achievable.

          s) The plaintiff could not transfer to the toilet without assistance, as the rear grab bar
             is not the required length and both grab bars are not mounted at the required
             height. Violation: The grab bars do not comply with the requirements prescribed
             in Section 4.16.4 & Figure 29 of the ADAAG and Sections 604.5 & 609 of the
             2010 ADA Standards, whose resolution is readily achievable.

              Maintenance

          t) The accessible features of the facility are not maintained, creating barriers to
             access for the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

 11.   All of the foregoing violations are also violations of the 1991 Americans with Disabilities

       Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,

       as promulgated by the U.S. Department of Justice.

 12.   The discriminatory violations described in paragraph 10 are not an exclusive list of the

       Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

       public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and all of the barriers to access. The individual Plaintiff, and all other


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       individuals similarly situated, have been denied access to, and have been denied the

       benefits of services, programs and activities of the Defendant’s buildings and its

       facilities, and have otherwise been discriminated against and damaged by the Defendant

       because of the Defendant’s ADA violations, as set forth above. The individual Plaintiff,

       and all others similarly situated, will continue to suffer such discrimination, injury and

       damage without the immediate relief provided by the ADA as requested herein. In order

       to remedy this discriminatory situation, the Plaintiff requires an inspection of the

       Defendant’s place of public accommodation in order to determine all of the areas of non-

       compliance with the Americans with Disabilities Act.

 13.   Defendant has discriminated against the individual by denying him access to full and

       equal enjoyment of the goods, services, facilities, privileges, advantages and/or

       accommodations of their places of public accommodation or commercial facilities in

       violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the

       Defendant continues to discriminate against the Plaintiff, and all those similarly situated

       by failing to make reasonable modifications in policies, practices or procedures, when

       such modifications are necessary to afford all offered goods, services, facilities,

       privileges, advantages or accommodations to individuals with disabilities; and by failing

       to take such efforts that may be necessary to ensure that no individual with a disability is

       excluded, denied services, segregated or otherwise treated differently than other

       individuals because of the absence of auxiliary aids and services.

 14.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

       Considering the balance of hardships between the Plaintiff and Defendant, a remedy in



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       equity is warranted.    Furthermore, the public interest would not be disserved by a

       permanent injunction. Plaintiff has retained the undersigned counsel and is entitled to

       recover attorney’s fees, costs and litigation expenses from the Defendant pursuant to 42

       U.S.C. § 12205 and 28 CFR 36.505.

 15.   Defendant is required to remove the existing architectural barriers to the physically

       disabled when such removal is readily achievable for its place of public accommodation

       that have existed prior to January 26, 1993, 28 CFR 36.304(a); in the alternative, if there

       has been an alteration to Defendant’s place of public accommodation since January 26,

       1992, then the Defendant is required to ensure to the maximum extent feasible, that the

       altered portions of the facilities are readily accessible to and useable by individuals with

       disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

       Defendant’s facilities are ones which were designed and constructed for first occupancy

       subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s

       facilities must be readily accessible to and useable by individuals with disabilities as

       defined by the ADA.

 16.   Notice to Defendant is not required as a result of the Defendant’s failure to cure the

       violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

       employees and gross receipts of $500,000 or less). All other conditions precedent have

       been met by Plaintiff or waived by the Defendants.

 17.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant De Todo

       Plaza to make those facilities readily accessible to and useable by the Plaintiff and all




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       other persons with disabilities as defined by the ADA; or by closing the facilities until

       such time as the Defendant cures its violations of the ADA.

 WHEREFORE, Plaintiff respectfully requests:

       a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq.

       b.     Injunctive relief against the Defendant including an order to make all readily

              achievable alterations to the facilities; or to make such facilities readily accessible

              to and usable by individuals with disabilities to the extent required by the ADA;

              and to require the Defendant to make reasonable modifications in policies,

              practices or procedures, when such modifications are necessary to afford all

              offered goods, services, facilities, privileges, advantages or accommodations to

              individuals with disabilities; and by failing to take such steps that may be

              necessary to ensure that no individual with a disability is excluded, denied

              services, segregated or otherwise treated differently than other individuals

              because of the absence of auxiliary aids and services.

       c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

       d.     Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act, including an Order compelling




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             the Defendant to maintain the accessible features on an ongoing basis.

             Dated: June 24, 2020         Respectfully Submitted,

                                          /s/ John P. Fuller
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